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                          IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF DELAWARE

  TRACER IMAGING LLC,                              )
                                                   )
                  Plaintiff,                       )
                                                   ) C.A. No.
            v.                                     )
                                                   ) JURY TRIAL DEMANDED
  MIXTILES, LTD., and MIXTILES USA,                )
  INC.                                             )
                                                   )
                  Defendants.                      )

                        COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff Tracer Imaging LLC (hereinafter “Plaintiff” or “Tracer”), a Delaware limited

liability company, by and through its attorneys, for its Complaint against defendants Mixtiles, Ltd.

and Mixtiles USA, Inc. (hereinafter collectively “Defendants” or “Mixtiles”), hereby alleges as

follows:

                                    NATURE OF THE CASE

       1.        This is a civil action for patent infringement arising under the Patent Act of the

United States, 35 U.S.C. § 1, et seq.

       2.        This action arises out of Mixtiles’ infringement of Tracer’s United States Patent

No. 12,108,889 (attached as Exhibit A) (the “’889 Patent” or the “Asserted Patent”).

                                          THE PARTIES

       3.        Tracer is a Delaware limited liability company having a principal place of business

at 712 Kitchawan Road, Ossining, New York, 10562, United States.

       4.        Upon information and belief, Defendant Mixtiles, Ltd. (“Mixtiles, Ltd.”) is a

private limited company organized under the laws of Israel, with its principal place of business
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located at 54/3 Ahad Haam, Tel Aviv-Jaffa, 6520216, Israel, and with registration number

515362044.


       5.       Upon information and belief, Defendant Mixtiles USA, Inc. (“Mixtiles USA”) is a

Delaware corporation, with its principal place of business at 1313 N Market St Ste 5100

Wilmington, Delaware, 19801.

       6.       Upon information and belief, Mixtiles USA is a wholly owned subsidiary of

Defendant Mixtiles, Ltd.

       7.       Mixtiles,   Ltd.    advertises    its    products   and   services   via   its   website,

www.mixtiles.com, which lists Mixtiles USA as a party of a contract with any website user in the

United States in its Terms of Service, https://www.mixtiles.com/terms-of-service (attached as

Exhibit B).

       8.       Upon information and belief, Mixtiles, Ltd. effectively controls the sales of

Mixtiles USA.

       9.       The Mixtiles website’s terms of service provides that website users are contracting

with different entities of Mixtiles based on where the website users are located. If a user is from

the European Union, the user is contracting with Mixtiles B.V.; if a user is in the U.S., the user is

contracting with Mixtiles USA; and if a user is from anywhere else, the user is contracting with

Mixtiles, Ltd. https://www.mixtiles.com/terms-of-service.

       10.      The Mixtiles website also provides that their products are made at Mixtiles’

factories in the US, UK, and Germany, and Mixtiles operate exclusively online and do not have a

physical retail location which “allows [Mixtiles] to bring [the Mixtiles products] directly to [the

customers’]        door,       no        matter           where       [the       customers]         are.”




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https://help.mixtiles.com/en/articles/3487863-faq-where-is-mixtiles-located (attached as Exhibit

C).

         11.    The Mixtiles website provides that Mixtiles “ship [their products] to almost every

corner     of   the   globe”    listing   over     160       countries   that   Mixtiles    ship    to.

https://help.mixtiles.com/en/articles/3488571-faq-which-courier-do-you-use-and-where-do-you-

ship (attached as Exhibit D).

         12.    Mixtiles, Ltd. is listed as the copyright owner of the Mixtiles website,

www.mixtiles.com.

         13.    The Mixtiles website also provides a customer help section which includes

instructions on ordering or using Mixtiles products, including instruction videos and contact

information for customer help. https://help.mixtiles.com/en/ (attached as Exhibit E).

         14.    As contact information for customer help, the Mixtiles website provides a single

email (hi@mixtiles.com) and a chat feature on the website, without regard to which Mixtiles entity

the customer contracted with. https://help.mixtiles.com/en/articles/3479154-all-about-mixtiles

(attached as Exhibit F).

         15.    The Mixtiles website’s terms of service (https://www.mixtiles.com/terms-of-

service) lists only one physical address for written refund requests, other than an email address

and a chat feature on its website: Ahad Ha'Am 54, Tel Aviv-Yafo, Israel 6520216. This is the same

address with the principal place of business of Mixtiles, Ltd. The address shows that all refunds

are handled by Mixtiles, Ltd. without regard to which Mixtiles entity a customer contracted with.

         16.    Mixtiles’ mobile application “Mixtiles – Photo Tiles” lists Mixtiles, Ltd. as a

developer,      a     seller,   and       a      copyright       owner     of     the      application.

https://apps.apple.com/us/app/mixtiles-photo-tiles/id583099157 (attached as Exhibit G).



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       17.     Upon information and belief, Mixtiles USA is the United States sale and

distribution department of Mixtiles, Ltd., and serves the purpose of selling and marketing the photo

frame products and services provided by Mixtiles, Ltd. to customers in the United States including

in the District of Delaware (“this District”).

       18.     Mixtiles, individually and collectively, make, use, sell, offer for sale in the United

States, and import into the United States, including in this District, photo frame products mounted

on walls, including repositionable frame systems that infringe the ’889 Patent.

                                           JURISDICTION

       19.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§

1331 and 1338(a) because this action arises under the patent laws of the United States, including

35 U.S.C. § 271, et seq.

       20.     This Court has personal jurisdiction over Mixtiles USA because Mixtiles USA is

Delaware corporation doing business in the State of Delaware and has (1) substantial, continuous,

and systematic contacts within this District, (2) maintains a broad distribution network within this

District, and (3) enjoys substantial income from the sales of infringing products within this District

in violation of 35 U.S.C. § 271, et seq.

       21.     This Court has personal jurisdiction over Mixtiles, Ltd., a foreign corporation,

because, upon information and belief, Mixtiles USA is a subsidiary of Mixtiles, Ltd. and is either

an agent or a mere department of Mixtiles, Ltd. which has effective control over Mixtiles USA.

Specifically, upon information and belief, Mixtiles, Ltd. has affiliated itself with Mixtiles USA,

which sells products and renders services within this District on behalf of Mixtiles, Ltd. that go

beyond mere solicitation and are sufficiently important to Mixtiles, Ltd. that Mixtiles, Ltd. itself

would perform equivalent services if no United States representative were available.



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        22.       On information and belief, Mixtiles, Ltd. markets and intends to market, distribute,

and sell the infringing products in this District with the reasonable expectation, knowledge, and

intent that such products will be purchased and used by consumers in this District. Mixtiles have

thus purposefully targeted their conduct to cause harm to Tracer in the State of Delaware, and

particularly in this District.

                   PLAINTIFF’S BUSINESS AND THE ASSERTED PATENT

        23.       Tracer has for over twenty (20) years been a global leader providing printing

services including lenticular printings in large and small formats, printing photos for wall décor

frames, and products that are created through the services such as motion pictures and boxes and

key chains with those printings. Tracer’s services and products are utilized around the world.

        24.       Tracer was founded in White Plains, New York, originally providing lenticular

printing services and lenticular products. Over time, Tracer has expanded into retail photo space,

such as photo products and décor products. The photos and décor products by Tracer are currently

sold in over 7,000 retail locations across the nation and are sold worldwide. Tracer has invented

new technologies in these areas through extensive investment in research and development for

more than a decade and maintains a global patent portfolio. The following Tracer patent is asserted

in this action.

                                      U.S. Patent No. 12,108,889

        25.       Tracer owns by assignment all rights, title and interest in the ’889 Patent, entitled

“Magnetic Framing System,” and holds the right to sue and recover damages for infringement

thereof, including for past infringement. The ’889 Patent duly and lawfully issued on October 8,

2024, with Charles Phillips and Steven M. Spiro listed as the inventors. The ’889 Patent issued

from U.S. Application No. 18/133,801, which was filed on April 12, 2023 and claims priority to



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U.S. Application No. 17/140,254, filed on January 4, 2021, now the U.S. Patent No. 11,641,957,

which claims priority to U.S. Provisional Application 62/957,589, filed on January 6, 2020 and

U.S. Provisional Application No. 62/957,195, filed on January 4, 2020. A true and correct copy of

the ’889 Patent is attached hereto as Exhibit A and made a part hereof.

       26.     The ’889 Patent is directed to a repositionable frame system comprising, inter alia,

a repositionable wall mount including a first magnetic element, and a frame including a second

magnetic element that is magnetically attracted to the first magnetic element and a border frame

section, wherein the repositionable wall mount includes a layer of foam and a magnetically

receptive rubber layer that is bonded to the layer of foam.

       27.     In particular, claim 1 of the ’889 Patent claims “A repositionable frame system

comprising: a repositionable wall mount configured for being repositionably secured to a support

surface, the repositionable wall mount including a first magnetic element; and a frame having a

rear face that includes a second magnetic element that is magnetically attracted to the first magnetic

element resulting in a magnetic coupling between the frame and the repositionable wall mount;

wherein the frame has a border frame section that defines an outer periphery of the frame, the rear

face of the frame including a center section disposed internal to the border frame section which

protrudes outwardly from the center section, the second magnetic element being located within the

center section and being offset and spaced from the border frame section so as to define a border

area that surrounds the second magnetic element and extends from an outer peripheral edge of the

second magnetic element to the border frame section; wherein the repositionable wall mount

includes a layer of foam; a repositionable adhesive coated over the layer of foam and configured

for contacting the support surface and allowing repositioning of the repositionable wall mount;




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and a magnetically receptive rubber layer that is permanently bonded to the layer of foam.” Exhibit

A, The ’889 Patent, Col. 7, lines 21-44.

                            MIXTILES’ INFRINGING ACTIVITY

       28.     Mixtiles compete with Tracer in the repositionable frame system market, more

specifically in the field of magnetically coupled photo frame systems and services.

       29.     Upon information and belief, Mixtiles market to customers in the United States

and worldwide, for repositionable frames systems, photo books and related services.

       30.     Mixtiles currently make, use, sell or offer for sale, and import into the United States

repositionable magnetic frame system products referred to as the “Mixtiles,” “Stickable Photo

Tiles,” “Restickable Photo Tiles” or “Magnetic Hanging System,” among others (collectively the

“Accused Products”). Representative images of Mixtiles’ repositionable magnetic frame system

products are set forth below:




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Mixtiles, Ltd., Restickable Photo Tiles, https://create.mixtiles.com/small-photo-tiles (last visited

September 13, 2024).




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Mixtiles, Ltd., Stunning Photo Walls Made Easy, https://www.mixtiles.com/ (last visited

September 13, 2024).

       31.     The Accused Products infringe one or more claims of the Asserted Patent, including

at least claims 1 and 17-19 of the ’889 Patent.

       32.     The Accused Products meet each and every limitation of at least claim 1 and 17-19

of the ’889 Patent as shown in the chart comparing claim 1 to the Mixtiles products that appear in

Mixtiles’ Magnet hanging instructions video, https://youtu.be/N0LjYkLkNig, uploaded in the

Help section of Mixtiles website, https://help.mixtiles.com/en/articles/4742191-how-to-hang-

your-mixtiles, which is representative of the Accused Products, attached hereto as Exhibit H.

       33.     Upon information and belief, Mixtiles, individually and collectively, have infringed

and continue to infringe the Asserted Patent by at least using, selling, and offering for sale the

Accused Products in the United States and importing the Accused Products into the United States.

Specifically, upon information and belief, Mixtiles market the Accused Products to customers in

the United States, by inter alia, selling or offering to sell the Accused Products to customers,

through its online website https://www.mixtiles.com/ and providing support services for the

Accused Products to customers.

       34.     In the alternative, Mixtiles, Ltd. has induced and is continuing to induce

infringement of the Asserted Patent by actively and knowingly inducing Mixtiles USA to make,

use, sell, offer for sale, or import the Accused Products that infringe one or more claims of the

Asserted Patent. Upon information and belief, Mixtiles, Ltd. has designed, manufactured,

marketed and provided to Mixtiles USA the Accused Products that Mixtiles USA sold to customers

in the United States; has provided and presently intend to provide Mixtiles USA’s customers with

customer support services including instructions for using the Accused Products and refund



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services, which facilitates Mixtiles USA’s sales; and, as of at least November 21, 2024, when

Mixtiles received Tracer’s letter informing Mixtiles of infringement of the ’889 Patent, such acts

are performed by Mixtiles, Ltd. with knowledge that the sale of the Accused Products by Mixtiles

USA infringes the Asserted Patent and with the specific intent that Mixtiles USA engage in such

infringing activity.

       35.     Upon information and belief, Mixtiles sold the Accused Product to at least one

customer located in this District.

       36.     In that the Accused Products meet the limitations of one or more claims of the

Asserted Patent either literally or under the doctrine of equivalents, including at least claim 1 of

the ’889 Patent, the use of the Accused Product by Mixtiles’ customers to hang photo frames on

the wall constitutes an infringing use of a product covered by the Asserted Patent.

       37.     In connection with the sale of the Accused Products to customers, Mixtiles provide

customers with detailed instruction for installing the Accused Products on the wall and using the

Accused Products. For example, the “How to Hang Your Mixtiles” guide on the Mixtiles website

attached as Exhibit I provides customers with instructions for installation and use of the Accused

Products. https://help.mixtiles.com/en/articles/4742191-how-to-hang-your-mixtiles.

        38.     On information and belief, Mixtiles have induced and are continuing to induce

infringement of the Asserted Patent by actively and knowingly inducing others to use, sell, offer

for sale, or import the Accused Products that infringe one or more claims of the Asserted Patent.

Specifically, Mixtiles have: sold, continued to sell, and presently intend to sell, the Accused

Products to customers in the United States; have provided, continued to provide, and presently

intend to provide those customers with detailed instructions for using the Accused Products; and,

as of at least November 21, 2024, when Mixtiles received Tracer’s letter informing Mixtiles of



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infringement of the ’889 Patent, such acts are performed by Mixtiles with knowledge that the use

of the Accused Products by Mixtiles’ customers infringes the Asserted Patent and with the specific

intent that Mixtiles’ customers engage in such infringing activity.

             MIXTILES’ PRE-SUIT KNOWLEDGE OF TRACER’S PATENTS
                        AND CHARGE OF INFRINGEMENT

       39.     Before filing this action, on November 21, 2024, Tracer sent the letter attached as

Exhibit J to Mixtiles notifying about Tracer’s patents and Mixtiles’ infringement thereof and

requesting Mixtiles to cease and desist the infringing activities. Among other things, Tracer

identified one of its patents, U.S. Patent No.12,108,889, and an exemplary infringing product of

Mixtiles, and provided a claim chart demonstrating how the patent is infringed by the Mixtiles

product. Although Tracer on this letter gave Mixtiles two weeks to respond, which made Mixtiles’

response due December 5, 2024, Mixtiles responded on December 4, 2024 requesting an extension

of time to respond. In the spirit of good faith, Tracer agreed to extend the time for Mixtiles’

response until December 16, 2024. Mixtiles did not responded to Tracer’s letter until December

17, 2024, and its response was inadequate, particularly because Mixtiles continue to infringe by

offering for sale and selling the Accused Product in the United States including this District.

                                           COUNT ONE

                       (Infringement of the ’889 Patent, 35 U.S.C. § 271)

       40.     Plaintiff Tracer repeats and alleges as if fully set forth herein the allegations

contained in all the preceding paragraphs ¶¶ 1-39.

       41.     The ’889 Patent is valid and enforceable.

       42.     The Accused Product meets the limitations of one or more claims of the ’889 Patent

either literally or under the doctrine of equivalents, including at least claims 1 and 17-19.




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       43.     Mixtiles, either individually or collectively, have directly infringed and continue to

directly infringe one or more claims of the ’889 Patent in violation of 35 U.S.C. § 271(a) by

manufacturing, using, providing, selling, offering to sell, importing and/or distributing without

authority the Accused Products in the United States and in this District.

       44.     In the alternative, Mixtiles, Ltd. indirectly infringes and continues to indirectly

infringe one or more claims of the ’899 Patent, including at least claims of 1 and 17-19 in violation

of 35 U.S.C. § 271(b), by knowingly inducing Mixtiles USA to sell, offer to sell, and/or import

the Accused Product that embodies the ’889 Patent with the specific intent that Mixtiles USA

engage in such infringing activity.

       45.     Mixtiles, either individually or collectively, indirectly infringe and continue to

indirectly infringe one or more claims of the ’889 Patent, including at least claims 1 and 17-19 in

violation of 35 U.S.C. § 271(b), by knowingly inducing one or more of Mixtiles’ customers to

purchase, install and/or use the Accused Product that embodies the ’889 Patent with the specific

intent that Mixtiles’ customers engage in such infringing activity.

       46.     As outlined above, under the totality of the circumstances, Mixtiles’ infringement

of the ’889 Patent is willful from at least the date that Mixtiles first learned of the ’889 Patent.

       47.     In any event, Mixtiles had knowledge of the ’889 Patent, Mixtiles’ infringement of

the ’889 Patent, and the infringement of the ’889 Patent by Mixtiles’ customers, at the latest as of

the filing date of this complaint.

       48.       On information and belief, Mixtiles have gained profits and market share by virtue

of its infringement of the ’889 Patent.

       49.     Tracer has sustained damages as a direct and proximate result of Mixtiles’

infringement of the ’889 Patent.



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          50.    Tracer is entitled to recover at least a reasonable royalty, and its lost profits,

enhanced damages, costs and expenses and attorney fees, and all other relief allowed under the

Patent Act.

          51.    Tracer will suffer and is suffering irreparable harm from Mixtiles’ infringement of

the ’889 Patent. Tracer has no adequate remedy at law and is entitled to an injunction against

Mixtiles’ continuing infringement of the ’889 Patent. Unless enjoined, preliminary and

permanently, Mixtiles will continue its infringing conduct.

                                      PRAYER FOR RELIEF

          WHEREFORE, Plaintiff Tracer respectfully requests that the Court grant the following

relief:

          a.     A judgment that Defendants Mixtiles have infringed one or more claims of the ’889

                 Patent;

          b.     A judgement that Defendants Mixtiles’ infringement of the ’889 Patent was willful;

          c.     An order preliminarily and permanently enjoining Mixtiles, its owners,

                 subsidiaries, divisions, branches, affiliates, predecessors or successors in business,

                 parents and wholly owned entities, and any entities acting or purporting to act for

                 or on behalf of the foregoing, including any agents, employees, representatives,

                 officers, directors, servants, partners, and those persons in active concert or

                 participation with them, from further acts of infringement of Tracer’s asserted ’889

                 Patent;

          d.     An award of damages to compensate Tracer for Mixtiles’ infringement under 35

                 U.S.C. § 284;

          e.     An Order awarding Tracer a reasonable royalty;



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      f.     An award of all damages, including treble damages based on any infringement

             found to be willful, pursuant to 35 U.S.C. § 284;

      g.     An Order awarding Tracer pre-judgment and post-judgment interest on all

             applicable damages at the maximum rates permitted by applicable law;

      h.     An accounting for all damages not presented at trial;

      i.     An Order declaring this case exceptional and awarding Tracer its reasonable

             attorney fees pursuant to 35 U.S.C. § 285; and

      j.     Such other and further relief as the Court deems just and proper.


                                       JURY DEMAND

      Tracer demands a trial by jury on all issues so triable.

                                                     Respectfully submitted,

                                                      /s/ Andrew E. Russell
                                                      Andrew E. Russell (No. 5382)
                                                      SHAW KELLER LLP
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 Dated: December 17, 2024




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